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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 UNITED STATES OF AMERICA,                                    :
                                              Plaintiff,      :
                                                              :      20 Cr. 32 (LGS)
                            -against-                         :
                                                              :    SCHEDULING ORDER
 JUAN PABLO DUARTE,                                           :
                                              Defendant, :
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LORNA G. SCHOFIELD, District Judge:

        It is hereby ORDERED that Defendant Juan Pablo Duarte’s sentencing hearing shall be

held on February 18, 2021 at 11:15 a.m. in courtroom 1106 of the Thurgood Marshall

Courthouse, 40 Foley Square, New York, New York 10007. Defendant’s pre-sentencing

submission, if any, shall be filed on or before January 25, 2021. The Government’s pre-

sentencing submission, if any, shall be filed by January 28, 2021.



Dated: November 6, 2020
       New York, New York
